Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 1 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 2 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 3 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 4 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 5 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 6 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 7 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 8 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 9 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 10 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 11 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 12 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 13 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 14 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 15 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 16 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 17 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 18 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 19 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 20 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 21 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 22 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 23 of 24
Case 2:13-cr-00120-APG-GWF   Document 159   Filed 04/01/14   Page 24 of 24
